           USDC IN/ND case 1:20-cv-00037-HAB-SLC document 7 filed 01/22/20 page 1 of 7
                                                                                                            (COURT USE ONLY)

                                                                                          RECEIPT NO.



                                               UNITED STATES DISTRICT COURT
                                           FOR THE NORTHERN DISTRICT OF INDIANA


            LIGTEL COMMUNICATIONS, INC.

                            V.                                       Cause No.                   1:20-cv-00037

           BAICELLS TECHNOLOGIES INC., et al




                        MOTION FOR ADMISSION TO PRACTICE PRO HAC VICE ON BEHALF OF

                                                      LIGTEL COMMUNICATIONS, INC.

                                                            Party(s) Represented


Prefix (check one) lx Mr.            Ms.       Mrs.

Last Name:                   Feder                First Name;                Samuel          Middle Name/Initial           L.


Generation (Sr, Jr, etc):



Firm Name:                                                        Jenner& Block LLP


Street Address:                        1099 New York Avenue NW                           Suite/Room No.:           Suite 900

City:                  Washington                                                  DC            Zip:              20001
                                                         State:

Office Telephone No.:                      (202) 639-6000                     Fax No.:

E-Mail Address:                                                     SFeder@jenner.com




EDUCATION:
College:           College of William and Mary              Degree;                 AB          Year Completed:            1992


Law School:                            University of Michigan Law School                          Year Graduated:           1995

Other Post-Graduate Schooling:

                                                             Page 1 of 3
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LIST EACH STATE TO WHICH YOU ARE ADMITTED TO PRACTICE LAW:
       STATE                  YEAR ADMITTED                   CURRENT STATUS                     BAR I.D. NUMBER
       D.C.                         1999                            Active                            462427

     Maryland                       1996                            Active                         9606170001




Please include a current certificate of good standing (fewer than 60 days old) from each jurisdiction listed above in
order to satisfy the requirements articulated in Local Rule 83-5(a)(2)(C)(ii).
LIST EACH FEDERAL COURT TO WHICH YOU ARE ADMITTED TO PRACTICE LAW:
                         COURT                               YEAR ADMITTED                 CURRENT STATUS
                       See attachment




If admitted to the U.S. Supreme Court, please provide a current certificate of good standing (fewer than 60 days
old.) Otherwise, no certificate of good standing is needed for any other Federal Court listed above.


Have you ever been publicly disciplined by any other court in the United States or its territories, commonwealths,
or possessions? n Yes (if yes, please attach an explanation) [x No



 Applicant: I,                      Samuel L. Feder                   , do solemnly swear or affirm that:

              I am a member in good standing of the bar of every jurisdiction to which I am admitted to practice.

              I have read and will abide by the Local Rules of the United States District Court for the Northern
              District of Indiana, including Appendix B: Standards for Professional Conduct Within the Seventh
              Federal Judicial Circuit.

              I declare under penalty of perjury that the statements in thi    ilicati    ■e true and correct.


              Dated:         January 22,2020

                                                                                   lature of Applicant



                                                      Page 2 of 3
         USDC IN/ND case 1:20-cv-00037-HAB-SLC document 7 filed 01/22/20 page 3 of 7




Considered and approved.

SO ORDERED.

Dated:
                                                           Judge, U. S. District Court




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                                                                                  Revised 06/05/2013
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                                        Attachment
LIST EACH FEDERAL COURT TO WHICH YOU ARE ADMITTED TO PRACTICE LAW:
Court                                                Year Admitted   Current Status
U.S. Court of Appeals, Eighth Circuit                1999            Active
U.S. Court of Appeals, Second Circuit                2006            Active
U.S. Court of Appeals, DC Circuit                    2005            Active
U.S. Court of Appeals, Sixth Circuit                 1996            Active
U.S. Court of Appeals, Third Circuit                 1996            Active
U.S. Supreme Court                                   2004            Active
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                                 Supreme Court of the United States
                                                OFFICE OF THE CLERK
                                               WASHINGTON, D.C. 20543




                                         SAMUEL LOUIS FEDER
                                         OF WASHINGTON, DC
         was duly admitted and qualified as an Attorney and Counselor for the Supreme Court of the United States

         on the first day of Mareh, in the year two thousand and four, and is now a member of the Bar of this

         Court in good standing.

                                                                        In testimony, whereof, as Clerk of said

                                                   r'
                                                                        Court, I have hereunto set my hand and
                                                          ■y
                                               I
                                                                        affixed the seal of said Court, at the City

                                         - I                            of Washington, this seventeenth day of
                      f
                           t
                I                                                       January 2020.
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                                ti                                                  Scott S. Harris
                                                                                 Clerk of the Supreme Court
                                                                                     of the United States
                                                                                                                      -I


                                                                   By

■|




                                                                             Assistant Admissions Officer

          I
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USDC IN/ND case 1:20-cv-00037-HAB-SLC document 7 filed 01/22/20 page 7 of 7




   On behalf of JULIO A. CASTILLO, Clerk of the District of Columbia Court of Appeals,
                    the District of Columbia Bar does hereby certify that



                              Samuel L Feder
          was duly qualified and admitted on March 8, 1999 as an attorney and counselor entitled to
          practice before this Court; and is, on the date indicated below, an Active member in good
                                               standing of this Bar.




                                                                            In Testimony Whereof,
                                                                        I have hereunto subscribed my
                                                                        name and affixed the seal of this
                                                                             Court at the City of
                                                                         Washington, D.C., on January
                                                                                   21, 2020.




                                                                              JULIO A. CASTILLO
                                                                                Clerk of the Court




                                                                    Issued By:
                                                                             District of Columbia Bar Membership




 For questions or concerns, please contact the D.C. Bar Membership Office at 202-626-3475 or email
                                     memberservices@dcbar.org.
